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                     EXHIBIT 2
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

    FLORIDA DECIDES HEALTHCARE,
    INC., et al.,
                          Plaintiffs,

           v.                                         No. 4:25-cv-211-MW-MAF

    CORD BYRD, in his official capacity as
    Florida Secretary of State, et al.,
                                        Defendants,

    REPUBLICAN PARTY OF FLORIDA,
              Proposed Intervenor-Defendant.

       [PROPOSED] ANSWER TO FLORIDA DECIDES HEALTHCARE’S
        CORRECTED COMPLAINT BY THE REPUBLICAN PARTY OF
                            FLORIDA

          Intervenor Defendant the Republican Party of Florida (“RPOF”) now answers

Plaintiffs’ Corrected Complaint (ECF No. 19). Unless expressly admitted below, every

allegation of the Corrected Complaint is denied. Accordingly, RPOF states:

                                      INTRODUCTION1

          1.     Admit that Florida law since 1968 speaks for itself. Otherwise denied.

          2.     Admit that more than 40% of Florida voters who cast a ballot in the

general election in 2024 opposed the two citizens’ initiatives proposing constitutional



1
  Throughout their Corrected Complaint, Plaintiffs include a number of headings that
make unproven and untrue factual allegations. To the extent Plaintiffs intend any of
their headings to serve as substantive allegations that require a response, they are denied.
RPOF includes the headings herein solely for ease of reference in this Answer.
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amendments. Otherwise denied.

       3.      Denied.

       4.      Denied.

       5.      Admit that the law speaks for itself. Otherwise denied.

       6.      Without knowledge of FDH’s business, personnel, and financial

operations and therefore denied. Otherwise denied.

       7.      Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

       8.      Some allegations in this paragraph are legal conclusions to which no

response is required. Otherwise denied.

       9.      Some allegations in this paragraph are legal conclusions to which no

response is required. Denied that Plaintiffs’ claims have merit and in all other aspects

or that Plaintiffs are entitled to relief.

                            JURISDICTION AND VENUE

       10.     Admit that Plaintiffs have filed this action pursuant to 28 U.S.C. §§ 1331

and 1343 but denied that Plaintiffs have any valid claim under these laws.

       11.     Admit that Plaintiffs have filed this action pursuant to 28 U.S.C. §§ 2201

and 2202 but denied that Plaintiffs have any valid claim under these laws. Denied that

Federal Rules of Civil Procedure 57 and 65 provide this Court with jurisdiction to hear

this case. Otherwise denied.

       12.     Without knowledge and therefore denied.
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      13.    Without knowledge and therefore denied.

                                      PARTIES

 A. Plaintiffs

      14.    Without knowledge and therefore denied.

      15.    Without knowledge and therefore denied.

      16.    Admit that FDH submitted a proposed constitutional amendment to the

Florida Division of Elections in 2018 titled “Provide Medicaid Coverage to Eligible

Low-Income Adults,” Serial No. 18-16, and otherwise denied.

      17.    Without knowledge and therefore denied.

      18.    Admit that Proposed Amendment Serial No. 18-16 speaks for itself.

Otherwise denied.

      19.    Without knowledge and therefore denied.

      20.    Without knowledge and therefore denied.

      21.    Without knowledge and therefore denied.

      22.    Without knowledge and therefore denied.

B. Defendants

      23.    Admit that Cord Byrd is the Secretary of State for Florida and that Florida

Statutes speak for themselves. Otherwise denied.

      24.    Admit that Florida Statutes speak for themselves. Otherwise denied.

      25.    Admit that Florida Statutes speak for themselves. Otherwise denied.

      26.    Without knowledge and therefore denied.
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      27.    Admit that Defendants Supervisors of Elections are responsible for

administering elections in each of Florida’s 67 counties and that their official duties and

responsibilities are set forth in Florida Statutes, which speak for themselves. Otherwise

denied.

      28.    Admit that Plaintiffs have named Supervisors of Elections in their official

capacities as Defendants in this lawsuit. Otherwise denied.

      29.    Admit that James Uthmeier is the Attorney General for Florida and that

his official responsibilities are set forth in Florida’s Constitution and Florida Statutes,

which speak for themselves. Otherwise denied.

      30.    Admit that Florida’s Constitution and Florida Statutes speak for

themselves. Otherwise denied.

      31.    Admit that the Florida Constitution and Florida Statutes speak for

themselves. Otherwise denied.

      32.    Admit that the Florida Constitution and Florida Statutes speak for

themselves. Otherwise denied.

      33.    Admit that Plaintiffs have named State Attorneys in their official capacities

as Defendants in this lawsuit. Otherwise denied.

                            FACTUAL ALLEGATIONS

  A. Floridians Have a Right to Citizen-Led Initiatives

      34.    Admit that Florida’s and other states’ laws speak for themselves.

Otherwise denied.
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      35.   Admit that the Florida Constitution speaks for itself. Otherwise denied.

      36.   Admit that the Florida Constitution speaks for itself. Otherwise denied.

      37.   Without knowledge and therefore denied.

      38.   Denied.

      39.   Denied.

      40.   Denied.

      41.   Denied.

      42.   Admit that the statute speaks for itself. Otherwise denied.

      43.   Admit that the Florida Constitution speaks for itself. Otherwise denied.

      44.   Admit that the statute speaks for itself. Otherwise denied.

      45.   Admit that the statute speaks for itself. Otherwise denied.

      46.   Admit that the statute speaks for itself. Otherwise denied.

      47.   Admit that the statute speaks for itself. Otherwise denied.

      48.   Admit that Florida Statutes and legislation speak for themselves.

Otherwise denied.

      49.   Denied.

      50.   Denied.

      51.   Admit that the Florida Constitution speaks for itself. Otherwise denied.

B. The Florida Legislature Responds to Successful Citizen-Led Initiatives by
   Systematically Restricting and Imposing Burdens on the Process.

      52.   Denied.

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      53.    Admit that Florida voters have approved some citizens’ initiatives “[o]ver

the last two decades.” Otherwise denied.

      54.    Denied.

      55.    Admit that the Laws of Florida and Florida Statutes speak for themselves.

Otherwise denied.

      56.    Admit that the Laws of Florida and Florida Statutes speak for themselves.

Otherwise denied.

      57.    Admit that the Florida Division of Elections’ records regarding vote totals

for constitutional amendments on the ballot and their passage or failure rates speak for

themselves. Otherwise denied.

      58.    Admit that the Laws of Florida and Florida Statutes speak for themselves.

Otherwise denied.

      59.    Admit that the Laws of Florida and Florida Statutes speak for themselves.

Otherwise denied.

      60.    Admit that the Laws of Florida and Florida Statutes speak for themselves.

Otherwise denied.

      61.    Admit that the Laws of Florida and Florida Statutes speak for themselves.

Otherwise denied.

      62.    Denied.

      63.    Denied.

      64.    Admit that the Florida Division of Elections’ records regarding
                                           6
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constitutional amendments on the ballot and their passage or failure rates speak for

themselves. Otherwise denied.

        65.   Admit that the Florida Division of Elections’ records regarding vote totals

for constitutional amendments on the ballot and their passage or failure rates speak for

themselves. Otherwise denied.

        66.   Admit that the Florida Division of Elections’ records regarding vote totals

for constitutional amendments on the ballot and their passage or failure rates speak for

themselves. Otherwise denied.

    C. HB 12052 Creates Unconstitutional Burdens on the Citizen-Led Initiative
       Process.

        67.   Denied.

        68.   Without knowledge and therefore denied.

        69.   Without knowledge and therefore denied.

        70.   Without knowledge and therefore denied.

        71.   Admit that “on May 2, 2025, the Florida Legislature passed HB 1205,

which Governor DeSantis signed into law the same day.” Otherwise denied.

        72.   Denied

        73.   Admit that HB 1205 speaks for itself. Otherwise denied.

              i. Petition Circulator Eligibility

2
  Although the Corrected Complaint refers throughout to “HB 1205,” Proposed
Intervenor-Defendants interpret this to mean the final version of the bill that passed
and was signed into law, which was Committee Substitute for House Bill 1205 or
“CS/HB 1205.”
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      74.   Admit that HB 1205 speaks for itself. Otherwise denied.

      75.   Admit that HB 1205 speaks for itself. Otherwise denied.

      76.   Admit that HB 1205 speaks for itself. Otherwise denied.

      77.   Admit that HB 1205 speaks for itself. Otherwise denied.

      78.   Without knowledge as to the matters about which FDH is “deeply

concerned” and thus denied. Otherwise denied.

      79.   Denied.

      80.   Without knowledge and therefore denied.

      81.   Without knowledge as to some parts of this allegation and therefore

denied. Otherwise denied.

      82.   Without knowledge as to unnamed sponsors’ “current employee pool[s]”

and therefore denied. Otherwise denied.

      83.   Without knowledge and therefore denied.

      84.   Denied.

      85.   Admit that HB 1205 speaks for itself. Otherwise denied.

      86.   Admit that the U.S. citizenship laws and the cited case speak for

themselves. Otherwise denied.

      87.   Denied.

      88.   Denied.

      89.   Denied.

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      90.   Without knowledge and therefore denied.

      91.   Admit HB 1205 speaks for itself. Otherwise denied.

      92.   Denied.

      93.   Denied.

            ii. Circulator Re-Registration

      94.   Admit that HB 1205 speaks for itself. Otherwise denied.

      95.   Admit that HB 1205 speaks for itself. Otherwise denied.

      96.   Admit that HB 1205 speaks for itself. Otherwise denied.

      97.   Denied.

      98.   Admit that HB 1205 speaks for itself. Otherwise denied.

      99.   Denied.

      100. Without knowledge as to FDH’s personnel and other internal actions and

therefore denied. Otherwise denied.

      101. Admit that HB 1205 speaks for itself. Otherwise denied.

      102. Without knowledge as to FDH’s personnel and operational procedures

and therefore denied. Otherwise denied.

      103. Without knowledge as to FDH’s financial resources and therefore denied.

Otherwise denied.

      104. Without knowledge as to FDH’s actions prior to HB 1205’s effective date

and therefore denied. Otherwise denied.

      105. Without knowledge as to Mr. Simmons’s residency and terms of
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employment with FDH and therefore denied. Admit that HB 1205 speaks for itself.

Otherwise denied.

      106. Denied.

             iii. Signature Verification Suspension

      107. Admit HB 1205 speaks for itself. Otherwise denied.

      108. Without knowledge as to the number of petitions FDH has collected and

its internal operations or strategies and therefore denied. Admit that HB 1205 speaks

for itself. Otherwise denied.

      109. Denied.

      110. Denied.

             iv. Ten-day Return Time

      111. Admit that HB 1205 speaks for itself. Otherwise denied.

      112. Admit that Florida Statutes (2022) speak for themselves. Otherwise

denied.

      113. Admit that HB 1205 speaks for itself. Otherwise denied.

      114. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      115. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      116. Admit that HB 1205 speaks for itself. Otherwise denied.

      117. Denied.
                                         10
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      118. Admit that Florida Statutes and the Department of State’s administrative

regulations speak for themselves. Otherwise denied.

      119. Admit that current and prior versions of Florida Statutes and Department

of State’s administrative regulations speak for themselves. Admit that HB 1205 speaks

for itself. Otherwise denied.

      120. Without knowledge as to “FDH’s internal processing” and therefore

denied. Otherwise denied.

      121. Denied.

      122. Admit that HB 1205 speaks for itself. Otherwise denied.

      123. Admit that HB 1205 speaks for itself. Otherwise denied.

      124. Without knowledge as to FDH’s operations and actions and therefore

denied. Otherwise denied.

             v. Severe and Punitive Fines

      125. Admit that HB 1205 speaks for itself. Otherwise denied.

      126. Admit that HB 1205 speaks for itself. Otherwise denied.

      127. Admit that HB 1205 speaks for itself. Otherwise denied.

      128. Admit that HB 1205 speaks for itself. Otherwise denied.

      129. Admit that HB 1205 speaks for itself. Otherwise denied.

      130. Admit that HB 1205 speaks for itself. Otherwise denied.

      131. Admit that HB 1205 speaks for itself. Otherwise denied.

      132. Denied.
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      133. Without knowledge as to FDH’s finances and operations and therefore

denied. Otherwise denied.

      134. Without knowledge as to FDH’s actions and operations and therefore

denied. Otherwise denied.

      135. Without knowledge as to FDH’s business model and therefore denied.

Otherwise denied.

      136. Denied.

            vi. Vague Criminal Penalties

      137. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      138. Admit that Florida law speaks for itself. Otherwise denied.

      139. Admit that the statute speaks for itself. Otherwise denied.

      140. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      141. Denied.

      142. Admit that HB 1205 speaks for itself. Otherwise denied.

      143. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      144. Admit that HB 1205 and this Court’s rulings in other cases speak for

themselves. Otherwise denied.

      145. Admit that HB 1205 speaks for itself. Otherwise denied.
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      146. Admit that HB 1205 speaks for itself. Otherwise denied.

      147. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

      148. Denied.

      149. Without knowledge as to what FDH has “heard directly from circulators”

and therefore denied. Admit that HB 1205 speaks for itself. Otherwise denied.

      150. Admit that HB 1205 speaks for itself. Otherwise denied.

      151. Denied.

      152. Denied.


             vii. Requirement to Refile

      153. Admit that HB 1205 speaks for itself. Otherwise denied.

      154. Admit that HB 1205 speaks for itself. Otherwise denied.

      155. Admit that Florida Statutes governing the constitutional amendment

process speak for themselves. Otherwise denied.

      156. Admit that HB 1205 speaks for itself. Otherwise denied.

      157. Denied.

      158. Admit that HB 1205 speaks for itself. Otherwise denied.

      159. Admit that HB 1205 speaks for itself. Otherwise denied.

      160. Denied.

      161. Without knowledge as to the “current and potential donors” who have

                                         13
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“expressed serious concerns about the impact of then-proposed HB 1205 on the

campaign’s viability.” Otherwise denied.

      162. Admit that HB 1205 speaks for itself. Otherwise denied.

      163. Admit that HB 1205 speaks for itself. Otherwise denied.

      164. Denied.

      165. Denied.

      166. Denied.

 D. The Challenged Provisions Do Not Serve a Compelling or Legitimate
    State Interest.

      167. Admit that HB 1205 speaks for itself. Otherwise denied.

      168. Denied.

      169. Admit that the January 2025 annual report of Florida’s Office of Election

Crimes and Security speaks for itself. Otherwise denied.

      170. Admit that Representative Persons-Mulicka’s comments during legislative

debates speak for themselves. Otherwise denied.

      171. Denied.

      172. Denied.

      173. Denied.

      174. Admit that HB 1205 speaks for itself. Otherwise denied.

      175. Admit that HB 1205 and Florida Statutes speak for themselves. Otherwise

denied.

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       176. Denied.

       177. Denied.

       178. Denied.

       179. Denied.

                               CLAIMS FOR RELIEF

                                       COUNT I

          Infringement on Plaintiff FDH’s, Plaintiff Mitch Emerson’s,
            and Plaintiff Jordan Simmons’s First Amendment Rights
                   (Undue Burden on Core Political Speech)
                  U.S. Const. amends I, XIV; 42 U.S.C. § 1983

       180. RPOF repeats and re-incorporates its prior responses contained in

paragraphs 1-179 as if fully set forth herein.

       181. Admit that Plaintiffs purport to allege First Amendment violations, but

denied that Plaintiffs’ allegations have merit.

       182. Admit that the cited case speaks for itself. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

       183. Admit that the cited cases speak for themselves. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

       184. Admit that the cited case speaks for itself. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

       185. Admit that the cited case speaks for itself. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

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       186. Admit that the cited cases speak for themselves. Otherwise, the remaining

allegations are legal conclusions to which no response is required.

       187. Denied.

       188. Denied.

       189. Denied.

       190. Denied.

       191. Denied.

       192. Some allegations in this paragraph are legal conclusions to which no

response is required. Other allegations are without knowledge and therefore denied.

Otherwise denied.

       193. Admit that the cited case speaks for itself. Some allegations in this

paragraph are legal conclusions to which no response is required. Other allegations are

without knowledge and therefore denied. Otherwise denied.

       194. The allegations in this paragraph are legal conclusions to which no

response is required.

       195. Admit that the cited cases speak for themselves. Other allegations in this

paragraph are legal conclusions to which no response is required. Otherwise denied.

       196. The allegations in this paragraph are legal conclusions to which no

response is required.

       WHEREFORE, RPOF denies that Plaintiffs are entitled to a judgment in their

favor or any relief:
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       A.     RPOF denies that Plaintiffs are entitled to the requested relief:

              i.     RPOF denies that Plaintiffs are entitled to any relief;

              ii.    RPOF denies that Plaintiffs are entitled to any relief;

              iii.   RPOF denies that Plaintiffs are entitled to any relief;

              iv.    RPOF denies that Plaintiffs are entitled to any relief;

              v.     RPOF denies that Plaintiffs are entitled to any relief;

              vi.    RPOF denies that Plaintiffs are entitled to any relief;

              vii.   RPOF denies that Plaintiffs are entitled to any relief;

       B.     RPOF denies that Plaintiffs are entitled to the requested relief;

       C.     RPOF denies that Plaintiffs are entitled to the requested relief;

       D.     RPOF denies that Plaintiffs are entitled to the requested relief; and

       E.     RPOF denies that Plaintiffs are entitled to the requested relief.

                                       COUNT II

               Infringement on Plaintiff FDH’s and Plaintiff Jordan
             Simmons’s First Amendment Rights to Free Association
                    U.S. Const. amends I, XIV; 42 U.S.C. § 1983

       197. RPOF repeats and re-incorporates its prior responses contained in

paragraphs 1-152 and 167-179 as if fully set forth herein.

       198. Admit that Plaintiffs purport to allege First Amendment violations, but

denied that Plaintiffs’ allegations have merit.

       199. Admit that the cited case speaks for itself. Other allegations in this

paragraph are legal conclusions to which no response is required.
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      200. The allegations in this paragraph are legal conclusions to which no

response is required.

      201. Admit that HB 1205 speaks for itself. Otherwise denied.

      202. Admit that HB 1205 speaks for itself. Otherwise denied.

      203. The allegations in this paragraph are legal conclusions to which no

response is required.

      204. Admit that HB 1205 speaks for itself. Otherwise denied.

      205. Admit that HB 1205 speaks for itself. Otherwise denied.

      206. Without knowledge as to the “reports” FDH alleges it has received and

therefore denied. Otherwise denied.

      207. Denied.

      208. Admit that the cited case speaks for itself. Otherwise denied.

      209. Denied.

      210. The allegations in this paragraph are legal conclusions to which no

response is required.

      211. Without knowledge as to Mr. Simmons’s responsibilities on behalf of

FDH and therefore denied. Other allegations in this paragraph are legal conclusions to

which no response is required. Otherwise denied.

      212. The allegations in this paragraph are legal conclusions to which no

response is required.

      213. Admit that the cited cases speak for themselves. Other allegations in this
                                         18
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paragraph are legal conclusions to which no response is required.

       WHEREFORE, RPOF denies that Plaintiffs are entitled to a judgment in their

favor or any relief:

       A.     RPOF denies that Plaintiffs are entitled to the requested relief:

              i.       RPOF denies that Plaintiffs are entitled to any relief;

              ii.      RPOF denies that Plaintiffs are entitled to any relief;

              iii.     RPOF denies that Plaintiffs are entitled to any relief;

              iv.      RPOF denies that Plaintiffs are entitled to any relief;

              v.       RPOF denies that Plaintiffs are entitled to any relief;

              vi.      RPOF denies that Plaintiffs are entitled to any relief;

              vii.     RPOF denies that Plaintiffs are entitled to any relief;

       B.     RPOF denies that Plaintiffs are entitled to the requested relief;

       C.     RPOF denies that Plaintiffs are entitled to the requested relief;

       D.     RPOF denies that Plaintiffs are entitled to the requested relief; and

       E.     RPOF denies that Plaintiffs are entitled to the requested relief.

                                        COUNT III

               Infringement on Plaintiff FDH’s and Plaintiff Jordan
                       Simmons’s First Amendment Rights
                            (Substantial Overbreadth)
                    U.S. Const. amends I, XIV; 42 U.S.C. § 1983

       214. RPOF repeats and re-incorporates its prior responses contained in

paragraphs 1-93, 137-152, and 167-179 as if fully set forth herein.

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      215. Admit that the cited case speaks for itself. Other allegations in this

paragraph are legal conclusions to which no response is required.

      216. Admit that the cited cases speak for themselves. Other allegations in this

paragraph are legal conclusions to which no response is required.

      217. Admit that HB 1205 speaks for itself. Otherwise denied.

      218. The allegations in this paragraph are legal conclusions to which no

response is required.

      219. Admit that HB 1205 speaks for itself. Otherwise denied.

      220. Admit that HB 1205 speaks for itself. Other allegations in this paragraph

are legal conclusions to which no response is required.

      221. Admit that the cited cases speak for themselves. Other allegations in this

paragraph are legal conclusions to which no response is required.

      222. Denied.

      223. Denied.

      224. Without knowledge as to FDH’s and other unidentified organizations’

business models and therefore denied. Otherwise denied.

      225. Denied.

      226. Denied.

      227. Without knowledge as to Mr. Simmons’s responsibilities on behalf of

FDH and therefore denied. Other allegations in this paragraph are legal conclusions to

which no response is required. Otherwise denied.
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       228. The allegations in this paragraph are legal conclusions to which no

response is required.

       229. The allegations in this paragraph are legal conclusions to which no

response is required.

       WHEREFORE, RPOF denies that Plaintiffs are entitled to a judgment in their

favor or any relief:

       A.     RPOF denies that Plaintiffs are entitled to the requested relief:

              i.       RPOF denies that Plaintiffs are entitled to any relief;

              ii.      RPOF denies that Plaintiffs are entitled to any relief;

       B.     RPOF denies that Plaintiffs are entitled to the requested relief;

       C.     RPOF denies that Plaintiffs are entitled to the requested relief;

       D.     RPOF denies that Plaintiffs are entitled to the requested relief; and

       E.     RPOF denies that Plaintiffs are entitled to the requested relief.

                                        COUNT IV

                       Infringement on Plaintiff Jordan Simmons’s
                                  Right to Due Process
                                  (Void for Vagueness)
                       U.S. Const. amends V, XIV; 42 U.S.C. § 1983

       230. RPOF repeats and re-incorporates its prior responses contained in

paragraphs 1-73, 137-152, and 167-179 as if fully set forth herein.

       231. Admit that Plaintiffs purport to allege Due Process violations, but denied

that Plaintiffs’ allegations have merit.

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       232. Admit that the cited case speaks for itself. Other allegations in this

paragraph are legal conclusions to which no response is required.

       233. Admit that the cited case speaks for itself. Other allegations in this

paragraph are legal conclusions to which no response is required.

       234. Admit that the cited cases speak for themselves. Other allegations in this

paragraph are legal conclusions to which no response is required.

       235. Admit that HB 1205 speaks for itself. Otherwise denied.

       236. The allegations in this paragraph are legal conclusions to which no

response is required.

       237. The allegations in this paragraph are legal conclusions to which no

response is required.

       238. The allegations in this paragraph are legal conclusions to which no

response is required.

       239. Admit that HB 1205 speaks for itself. Other allegations in this paragraph

are legal conclusions to which no response is required. Otherwise denied.

       240. The allegations in this paragraph are legal conclusions to which no

response is required.

       WHEREFORE, RPOF denies that Plaintiffs are entitled to a judgment in their

favor or any relief:

       A.     RPOF denies that Plaintiffs are entitled to the requested relief:

       B.     RPOF denies that Plaintiffs are entitled to the requested relief;
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      C.      RPOF denies that Plaintiffs are entitled to the requested relief;

      D.      RPOF denies that Plaintiffs are entitled to the requested relief; and

      E.      RPOF denies that Plaintiffs are entitled to the requested relief.

                            AFFIRMATIVE DEFENSES

      1.      The allegations in the complaint fail to state a claim upon which relief may

be granted.




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 Dated: May 27, 2025                           Respectfully submitted,

                                               /s/ Benjamin J. Gibson
                                               Benjamin J. Gibson
                                               Fla. Bar No. 58661
                                               Daniel E. Nordby
                                               Fla. Bar No. 14588
                                               Tara R. Price
                                               Fla. Bar No. 98073
                                               Nicholas J.P. Meros
                                               Fla. Bar No. 120270
                                               Kassandra S. Reardon
                                               Fla. Bar No. 1033220
                                               SHUTTS & BOWEN LLP
                                               215 South Monroe Street, Suite 804
                                               Tallahassee, Florida 32301
                                               Tel: (850) 241-1717
                                               bgibson@shutts.com
                                               dnordby@shutts.com
                                               tprice@shutts.com
                                               nmeros@shutts.com
                                               kreardon@shutts.com
                                               chill@shutts.com

                                               Counsel for Proposed Intervenor-Defendant
                                                 Republican Party of Florida


                         CERTIFICATE OF SERVICE
      I hereby certify that on May 27, 2025, I electronically filed this document with

the Clerk of the Court by using the CM/ECF system, which will serve all parties whose

counsel have entered appearances.

                                               /s/ Benjamin J. Gibson




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